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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
DONALD J. TRUMP, et al.                   )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           )               Case No. 19-cv-01136 (APM)
                                          )
MAZARS USA LLP,                           )
                                          )
      Defendant,                          )
                                          )
COMMITTEE ON OVERSIGHT AND                )
REFORM OF THE U.S. HOUSE OF               )
REPRESENTATIVES,                          )
                                          )
      Intervenor-Defendant.               )
_________________________________________ )

                                            ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 72, the court grants

in part and denies in part both Plaintiffs’ Motion for Summary Judgment, ECF No. 54, and the

House Oversight Committee’s Cross-Motion for Summary Judgment, ECF No. 56.                  The

Committee’s GSA investigation warrants entry of summary judgment for the Committee (and

denial of Plaintiffs’ motion) on the subpoenaed materials of only President Trump, Trump Old

Post Office LLC, and the Trump Organization. The Committee’s emoluments investigation

warrants entry of summary judgment for the Committee (and denial of Plaintiffs’ motion) on the

subpoenaed materials for only the years 2017 and 2018. As for the remaining documents covered

by the Maloney Subpoena, Plaintiffs’ motion is granted, and the Committee’s motion is denied.

       This is a final, appealable order.
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Dated: August 11, 2021                           Amit P. Mehta
                                          United States District Court Judge




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